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 UNITED STATES DISTRICT COURT FOR THE
 EASTERN DISTRICT OF NEW YORK
 AKF, INC. D/B/A FUNDKITE,

                                      Plaintiff,                 Civil Action No..1:19-CV-06994-FB-JO
                    -against-
                                                                 DECLARATION OF ALEXANDER
 CREATIVE FIBERGLASS, LLC, A                                     FAINBERG IN SUPPORT OF
 SHOWROOM SHINE DETAILING SHOP                                   MOTION FOR DEFAULT
                                                                 JUDGMENT
 LLC, AND ROBERT ALAN COLOMBO, SR.,

                                      Defendants.

 I, ALEXANDER FAINBERG, pursuant to 28 U.S.C. § 1746, declare as follows:

         1.       I am an Authorized Officer of Plaintiff AKF, Inc. d/b/a Fundkite in the above-

captioned action and have personal knowledge of the facts set forth herein.

         2.       I submit this declaration in support of Plaintiff’s motion for a default judgment.

         3.       Plaintiff has brought this action against the following Defendants: (i) Creative

Fiberglass, LLC; (ii) A Showroom Shine Detailing Shop LLC; and (ii) Robert Alan Colombo, Sr.

for breach of a Revenue Purchase Agreement (“RPA”). 1 A true and correct copy of the

Complaint is attached as Exhibit B. A true and correct copy of the asserted Revenue Purchase

Agreement (“RPA”) is attached as Exhibit C.

         4.       In the interest of obtaining an expeditious judgment from the Clerk, and for

purposes of this motion only, Plaintiff hereby waives (a) its Third Cause of Action for Unjust

Enrichment; (b) its Fourth Cause of Action for Money Had and Received, and, (c) its claim for

attorneys’ fees.

         5.       On or about August 28, 2019, Plaintiff and Creative Fiberglass, LLC entered into



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    My understanding is that to prevail on a claim for breach of contract under New York law, a plaintiff must
establish (i) the formation of a contract between the parties; (ii) performance by the plaintiff; (iii) failure of
defendant to perform; and (iv) damages.

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a Revenue Purchase Agreement (“RPA”) in which Plaintiff agreed to purchase $216,000.00 of

the Merchant’s future receivables for a payment of $150,000.00, representing the agreed-upon

present-day value of those future receivables. (See Compl. ¶ 9 & RPA.)

       6.      Under the RPA, Creative Fiberglass, LLC agreed to allow Plaintiff to make daily

ACH withdrawals of its receivables from a dedicated bank account (the “Account”) until the

purchased receivables amount was fully paid. (See Compl. ¶ 10; RPA at p. 5 & § 3.1.)

       7.      Pursuant to the RPA, Creative Fiberglass, LLC agreed that it would not block

Plaintiff’s access to such daily withdrawals from the its Account, and that any such block would

constitute a default under the RPA. (See Compl. ¶ 11; RPA at p. 5 & § 3.1.)

       8.      Pursuant to the RPA, Creative Fiberglass, LLC also agreed that it would not enter

into subsequent agreements to sell its receivables, and that doing so would constitute a default

under the RPA. (See Compl. ¶ 12; RPA §§ 2.10 & 3.1.)

       9.      Defendants A Showroom Shine Detailing Shop LLC and Robert Alan Colombo,

Sr. agreed to guarantee Creative Fiberglass, LLC’s performance under the RPA. (See Compl. ¶

14; RPA at pp. 13-16.)

       10.     On or about December 12, 2019, Defendant Creative Fiberglass, LLC breached

the RPA by (a) blocking Plaintiff’s access to Creative Fiberglass, LLC’s Account from which

Plaintiff was making withdrawals under the RPA, and (b) entering into subsequent agreements to

sell its revenues with other funders.

       11.     Because Defendants A Showroom Shine Detailing Shop LLC and Robert Alan

Colombo guaranteed Creative Fiberglass, LLC’s performance under the RPA, those guarantor

defendants are liable for the debts of Creative Fiberglass, LLC under the RPA. Further, because

those guarantor Defendants failed to make payments that are owed by Creative Fiberglass, LLC,



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those guarantor Defendants have defaulted under the RPA.

       12.      At the time of the default, Defendant Creative Fiberglass, LLC paid only

$119,630.77 of the $216,000.00 owed, leaving a balance of $96,369.23 due under the RPA. (See

Compl. ¶ 19.)

       13.      In the event of default, Fundkite became entitled under the RPA to demand the

immediate collection of “the full uncollected Purchased Amount of Receipts plus all fees and

charges (including legal fees) due under this Agreement”. (See Compl. ¶ 13; RPA § 3.2.)

       14.      In addition, because Creative Fiberglass, LLC defaulted under the RPA, Plaintiff

became entitled to the sum of $64,800.00, which represents the Default Fee, calculated at 30% of

the total amount of purchased receipts ($216,000.00). (See Compl. ¶ 20; RPA at Appendix A,

Item F.)

       15.      The total amount of the outstanding balance ($96,369.23) plus the default fee

($64,800.00) owed by Creative Fiberglass, LLC is $161,169.23. (See Compl. ¶ 31.)

       16.      The amount of interest that has accumulated on that principal amount of

$161,169.23 through March 17, 2020 is $3,813.12.

   Date of       Principal     Interest     Daily      Per Diem      Interest    # of      Total
   Breach         Owed          Rate        Rate        Interest      Thru       Days     Interest
 12/19/2019 $161,169.23         9.00%     0.0002465      $39.72     3/17/2020      96    $3,813.12

       17.      Wherefore, Plaintiff is entitled to a Judgment against defendants Creative

Fiberglass, LLC, A Showroom Shine Detailing Shop LLC, and Robert Alan Colombo, Sr. in the

amount of $164,982.35, which is the sum of the outstanding balance ($96,369.23) due under the

RPA, plus the default fee ($64,800.00), plus $3,813.12 for interest on that principal amount

accrued through March 17 10, 2020.

       18.      I declare under penalty of perjury that the foregoing is true and accurate to the

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best of my knowledge, information and belief and that the amount claimed is justly due to

plaintiff.

 Dated:      New York, New York
             March 17, 2020

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                                              ALEXANDER FAINBERG




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2020, I served the foregoing document via electronic

filing with the Clerk of the Court using the CM/ECF filing system.


                                            /s/ Wing K. Chiu     /.
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